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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JAMES FARMER, et al.,

Plaintiffs,

v.                                                    CIVIL ACTION NO. 24-cv-1654 (DLF)

UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY, et al.,
Defendants.



     PLAINTIFFS’ RESPONSE IN OPPOSITION TO NATIONAL ASSOCIATION OF
     CLEAN WATER AGENCIES’ MOTION TO JOIN DEFENDANTS’ MOTION TO
            DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT

       NACWA’s argument on the question of nondiscretionary duty (relevant to EPA’s Rule

12(b)(1) motion to dismiss for alleged lack of jurisdiction) boils down to this: no matter how

much evidence a plaintiff possesses that a substance is present in biosolids at concentrations that

harm human health and the environment, EPA can never be sued in federal court under the Clean

Water Act because the Act’s biennial review clause does not explicitly name any particular

substance. This flies in the face of the provision’s purpose, its plain language, and the statutory

structure. Congress included the biennial review to protect the public from threats in sewage

sludge as-yet-unknown at the time of drafting. Like a testator providing for grandchildren that

may be born after execution of the will, Congress necessarily lacked the ability to explicitly list

these substances. But contrary to NACWA’s claims, the biennial review provision does not give

EPA unfettered discretion as to what hazardous substances to regulate in sewage sludge. Rather,

it incorporates by reference the criteria set out in Section 405(d)(2)(A), which NACWA, as well

as EPA, admits are nondiscretionary. NACWA’s contention that those requirements are divorced



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from the biennial review provision, freeing EPA from the boundaries Congress imposed on the

initial round of identification and regulation of toxic substances in sewage sludge, is untenable.

          Regarding Plaintiffs’ alternative claim under the Administrative Procedure Act for

arbitrary and capricious action, the only argument NACWA makes distinct from those of EPA

concerns opportunities for stakeholder input. As nothing this Court could do in a ruling would

circumvent any legally required opportunities for stakeholder input, NACWA’s argument fails.

                                             ARGUMENT

          A. NACWA’s argument that Section 405(d)(2)(A) is irrelevant fails; because the
             biennial review provision incorporates Section 405(d)(2)(A)’s requirements, EPA
             has a nondiscretionary duty to regulate substances that meet the given criteria.

          As it must, NACWA agrees with EPA that Section 405(d)(2)(A) 1 is nondiscretionary.

NACWA Br. on Mot. to Dismiss (hereinafter “NACWA Br.”) at 4; EPA Mem. on Mot. to Dismiss

at 2; EPA reply on Mot. to Dismiss at 3. Plaintiffs need not repeat their explanation of how

Section 405(d)(2)(C) (the biennial review provision) explicitly incorporates all the requirements

of Section 405(d)(2), including those in Section 405(d)(2)(A). See Pls’ Resp. to EPA Mot. to

Dismiss at 7-12. Suffice it to say that Plaintiffs’ position is that Congress quite reasonably

compelled EPA, in future reviews, to use the same criteria for identifying and regulating toxic

substances in biosolids as Congress had imposed for the first round of regulations.



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    Section 405(d)(2)(A)(i) uses “shall” to require EPA, in its initial round of regulations, to:

          identify those toxic pollutants which, on the basis of available information on their
          toxicity, persistence, concentration, mobility, or potential for exposure, may be
          present in sewage sludge in concentrations which may adversely affect public
          health or the environment, and propose regulations specifying acceptable
          management practices for sewage sludge containing each such toxic pollutant and
          establishing numerical limitations for each such pollutant for each use identified
          under paragraph (1)(A).

33 U.S.C. § 1345(d)(2)(A)(i).
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       NACWA argues that the requirements of Section 405(d)(2)(A) are “not at issue” here at

all. NACWA Br. at 4. NACWA contends that the words “consistent with the requirements of this

paragraph” in the biennial review position do not refer to Section 405(d)(2), but rather to

Section 405(d) overall and in particular Section 405(d)(1), which is far broader. Id. at 5-6, n 4. It

so reasons because of the use of “paragraph” rather than “subparagraph.” Id. This is incorrect.

“Congress ‘ordinarily adheres to a hierarchical scheme in subdividing statutory sections,’ which

scheme uses, successively, “subsections” (e.g., “(a)”), “paragraphs” (e.g., “(1)”), subparagraphs

(e.g., “(A)”) and “clauses” (e.g., “(i)”).” United States v. Hines, 694 F.3d 112, 118 (D.C. Cir.

2012) (citing Koons Buick Pontiac GMC, Inc. v. Nigh, 543 U.S. 50, 60-61 (2004)). Thus,

“consistent with the requirements of this paragraph” should be interpreted as referring to Section

405(d)(2), which include requirements in its subparagraphs (A); (B) (which essentially repeats

those in (A)); and (D).

       Nothing in the statute suggests otherwise. Even a cursory look at the organization of the

relevant section (33 U.S.C. § 1345, “Disposal or use of sewage sludge”) reveals the flaw of

NACWA’s argument. The words “requirements of this paragraph” in the biennial review

provision, Section 405(d)(2)(C) are most logically interpreted as referring to the paragraph is

which it is housed: Section 405(d)(2), entitled “Identification and Regulation of Toxic

Pollutants.” After all, the biennial review provision is aimed at EPA’s identification and

regulation of toxic pollutants. The requirements in subparagraphs (A), (B), and (D) of Section

405(d)(2) are specific to the identification and regulations of toxic pollutants in biosolids and are

far more detailed than any requirements in the broader Section 405(d)(1).

       Nor can it be, as NACWA argues, that because Section 405(d)(2)(A) contains deadlines

now past, it is not “future looking” and thus has no further import. NACWA Br. at 5-6, n 4.


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Congress knew that Section 405(d)(2)(A) contained deadlines that would pass, yet it explicitly

incorporated its other requirements into the biennial review provision by reference. NACWA and

EPA claim that the only time requirement relating to biennial review is the two-year deadline

itself, but they fail to acknowledge that the incorporation of Section 405(d)(2) could be

interpreted to require EPA, when available evidence shows that a substance may be present in

sewage sludge in concentrations that may harm human health and the environment, to

promulgate regulations consistent with the time frames Congress imposed in the initial rounds. 2

        B. A ruling in Plaintiffs’ favor would not remove any legally required opportunities
           for public input, and NACWA’s argument does not support dismissing Plaintiffs’
           Administrative Procedure Act claim.

        NACWA’s argument regarding Plaintiffs’ alternative cause of action under the

Administrative Procedure Act (for acting arbitrarily and capriciously in failing to identify

substances for regulation for which ample evidence exists to do so) repeats EPA’s arguments

alleging that there is no final agency action. Plaintiffs refer the Court to their prior briefing for

their response. See Pls.’ Resp. to EPA Mot. to Dismiss at 16-20.

        The only argument NACWA independently raises in this section of its brief is the

allegation that if this Court were to order EPA to promulgate regulations, stakeholders like

NACWA would be cut out of the process. This is patently false. While of course a rulemaking

proposal requires public input, the decision of whether to regulate a substance in the first

instance does not. Plaintiffs already discussed this distinction. See Pls. Resp. to NACWA Mot. to

Intervene at 4-5. The only provision NACWA points to, Section 405(d)(1), see NACWA Br. at 7,

requires public participation in the process of developing and publishing regulations, which



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  See Section 405(d)(2)(A)(ii) (requiring EPA to promulgate regulations within nine months of
identifying substances for regulation) and Section 405(d)(2)(B)(ii) (requiring EPA to promulgate
regulations within ten and a half months of identifying substances for regulation).
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necessarily occurs after EPA has identified a substance for regulation. Plaintiffs do not disagree

that EPA often does seek stakeholder input on decisions whether to regulate, including through

its risk assessment process, but such opportunity for input is not required by law. A decision by

this Court that statutory criteria requiring regulation are met would leave EPA to craft the

regulations utilizing its scientific expertise and usual public processes for proposed rulemakings.

       Finally, with respect to EPA’s flow chart, NACWA’s statement is false that a substance

“must” undergo “preliminary risk screening and a risk assessment before EPA considers

regulation.” NACWA Br. at 7-8. This is the process that EPA has developed over the years, but

no law compels these steps. It is the province of the Courts to apply the plain language of statutes

and resolve any statutory ambiguities. Loper Bright Enters. v. Raimondo, 144 S. Ct. 2244, 2251

(2024). If the Court interprets the law to require EPA to regulate substances that meet certain

criteria, and also finds – by taking evidence, just as Courts regularly do even in scientifically

complex cases – that these criteria are met, requiring regulation is simply a matter of enforcing

the law. EPA remains free to conduct risk assessments or use any other processes it finds useful

in determining the contours of those regulations, and will do so with full opportunities for public

participation.

                                          CONCLUSION

       Under either Rule 12(b)(1) or 12(b)(6), the Court “assume[s] the truth of all material

factual allegations,” Am. Nat’l Ins. Co. v. FDIC, 642 F.3d 1137, 1139 (D.C. Cir. 2011) (cleaned

up), and asks whether those allegations, if true, permit a suit to be maintained. At this

preliminary stage, the question is simply whether the biennial review provision imposes upon

EPA a non-discretionary duty to identify and regulate a substance when available information

shows that it may be present in biosolids in concentrations that may pose a risk to human health


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and the environment. If the answer is yes, and if Plaintiffs have made factual allegations

sufficient to plead their cause of action, there is no basis for dismissing this case before it reaches

the merits. It is only at the merits stage of the litigation that this Court would take evidence and

make decisions regarding particular substances EPA should regulate.

       NACWA accuses plaintiffs of basing their pleading on “inflammatory allegations

regarding risks from PFAS.” NACWA Br. at 3. The testing results that Plaintiffs will present if

this matter proceeds to the merits are, indeed, shocking due to the magnitude of the PFAS levels

found in the necropsied animals after the land application of biosolids, but this does not make

them “inflammatory,” nor can reputable scientific studies outlining the harms from PFAS be so

described. Test results and scientific studies are simply “available information,” which is

precisely what the statute, in Section 405(d)(2)(A)(i), requires EPA to consider. The allegations

in Plaintiffs’ complaint allow the suit to be maintained as they suggest that PFAS not only “may

be” but unequivocally are present in concentrations that not only “may” but do pose a harm to

human health and the environment. That is precisely the criteria that Congress set out triggering

EPA’s mandatory duty to regulate.

       EPA’s motion to dismiss under Rule 12(b)(1) fails because there is a nondiscretionary

duty the breach of which Plaintiffs allege with enough specificity to survive a motion to dismiss,

and EPA’s Rule 12(b)(6) motion fails because Plaintiffs have stated a claim upon which relief can

be granted. Nothing in NACWA’s motion supports any other conclusion.



                               Respectfully submitted on January 13, 2025,

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